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 1   CAHILL GORDON & REINDEL LLP
     JOEL KURTZBERG (admitted pro hac vice)
 2   FLOYD ABRAMS (admitted pro hac vice)
     JASON ROZBRUCH (admitted pro hac vice)
     LISA J. COLE (admitted pro hac vice)
 3   32 Old Slip
     New York, New York 10005
 4   Telephone: 212-701-3120
     Facsimile: 212-269-5420
 5   jkurtzberg@cahill.com

 6   DOWNEY BRAND LLP
     WILLIAM R. WARNE (Bar No. 141280)
     bwarne@downeybrand.com
 7   MEGHAN M. BAKER (Bar No. 243765)
     mbaker@downeybrand.com
 8   621 Capitol Mall, 18th Floor
     Sacramento, CA 95814
 9   Telephone: 916-444-1000
     Facsimile: 916-520-5910
10   Attorneys for Plaintiff X Corp.
11

12                         UNITED STATES DISTRICT COURT

13                        EASTERN DISTRICT OF CALIFORNIA

                                 SACRAMENTO DIVISION
14

15
      X CORP.,                             No. 2:23-cv-01939-WBS-AC
16
                    Plaintiff,
17
           v.                              REPLY MEMORANDUM OF POINTS AND
                                           AUTHORITIES IN SUPPORT OF MOTION
18    ROBERT A. BONTA, Attorney            FOR PRELIMINARY INJUNCTION
      General of California, in his
19    official capacity,                   EXTENDED ORAL ARGUMENT REQUESTED

20                  Defendant.             Date: November 13, 2023
                                           Time: 1:30 p.m.
21                                         Crtrm: 5

22

23

24



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 1                                      INTRODUCTION

 2         Attorney General Bonta’s brief opposing X Corp.’s motion for

 3   a preliminary injunction contains a critical admission — buried on

 4   page 32 — that “AB 587 is content based.”             Defendant’s Opposition

 5   to Motion for Preliminary Injunction (“Opp.”) at 32.             Under long-

 6   standing United States Supreme Court precedent, such laws “are

 7   presumptively unconstitutional” and subject to strict scrutiny,

 8   the highest form of judicial review.              Reed v. Gilbert, 576 U.S.

 9   155, 163 (2015) (content-based laws “may be justified only if the

10   government    proves   that   they     are   narrowly    tailored   to   serve

11   compelling state interests”).            To avoid application of strict

12   scrutiny, AG Bonta argues that AB 587 is subject to a narrow

13   exception to this general rule that applies a more-relaxed standard

14   of review to a law that compels (1) commercial speech that (2) is

15   both purely factual and uncontroversial.              See Zauderer v. Office

16   of Disciplinary Counsel, 471 U.S. 626 (1985).            But AG Bonta failed

17   to meet his burden of establishing these essential prerequisites.

18   See id. at 641 (discussing burden).               Zauderer cannot apply here

19   because AB 587 neither involves commercial speech nor speech that

20   is both purely factual and uncontroversial.

21         To begin, AG Bonta’s opposition brief misstates the relevant

22   law about what constitutes commercial speech (Opp. at 21 n.8), and

23   the very cases cited by AG Bonta make plain that AB 587 comes

24   nowhere close to satisfying the relevant inquiry, which asks if



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 1   the speech in question “does no more than propose a commercial

 2   transaction.”     Hunt v. City of Los Angeles, 638 F.3d 703, 715 (9th

 3   Cir. 2011) (cited by Defendant) (quoting United States v. United

 4   Foods, Inc., 533 U.S. 405, 409 (2001)); see also Va. State Bd. Of

 5   Pharmacy v. Va. Citizens Consumer Council, Inc., 425 U.S. 748, 762

 6   (1976) (same); Central Hudson Gas & Elec. Corp. v. Pub. Serv.

 7   Comm’n of New York, 447 U.S. 557, 562 (1980) (describing commercial

 8   speech as “speech proposing a commercial transaction”); Board of

 9   Trustees v. Fox, 492 U.S. 469, 482 (1989) (holding that “speech

10   that proposes a commercial transaction” is “what defines commercial

11   speech”) (emphasis in original); Bolger v. Youngs Drug Prod. Corp.,

12   463 U.S. 60, 66 (1983) (cited by Defendant) (“commercial speech”

13   is   speech    “which     does     no   more       than   propose   a   commercial

14   transaction”) (quotation marks omitted); City of Cincinnati v.

15   Discovery Network, Inc., 507 U.S. 410, 422 (1993) (same).                       AG

16   Bonta’s Opposition relegates his entire discussion of this crucial

17   issue to a footnote (Opp. at 21 n.8).              And, perhaps understandably,

18   that footnote neglects to cite the relevant inquiry: whether the

19   speech in question proposes a commercial transaction.                   Of course,

20   AB   587’s    compelled    disclosures        do    not   propose   a   commercial

21   transaction.      AG Bonta does not and cannot attempt to argue

22   otherwise.

23         Nor does AB 587 compel speech that is “purely factual and

24   uncontroversial,” as is required for Zauderer to apply.                   Instead,



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 1   AB 587 requires controversial disclosures about content-moderation

 2   decisions that involve highly subjective and contestable editorial

 3   judgments about what content should be permitted on social media

 4   platforms.    Indeed, as confirmed by the legislative history of AB

 5   587 and the undisputed testimony of X Corp.’s witnesses, AB 587

 6   forces social media companies to disclose sensitive editorial

 7   decisions pertaining to how social media companies chose to define

 8   and moderate content.      Such speech is “fraught with political bias”

 9   and generates significant controversy regardless of the decisions

10   made.   Indeed, in this realm of speech, “both action and inaction”

11   are “equally maligned” by the public on the very topics that are

12   the focus of AB 587.       Affidavit of Joel Kurtzberg, dated Oct. 6,

13   2023 (“Kurtzberg Aff.”) Ex. 6 (Cal. Assemb. Comm. on Privacy and

14   Consumer Protection Report, 2021–22 Sess. (AB 587), Apr. 22, 2021)

15   at 4; see also Affidavit of Trust & Safety Team, dated Oct. 6, 2023

16   (“T&S Aff.”) ¶¶ 25–29; Affidavit of Ben Elron, dated Oct. 6, 2023

17   (“Elron   Aff.”)   ¶¶   5–8,   11-15    (noting   that   content    moderation

18   decisions    are   so   controversial    that,    if   personal    identifying

19   information about the persons who make them is publicly available,

20   those persons have a high likelihood of being subjected to doxing,

21   threats, and harassment).          The record is uncontroverted on these

22   points, which are fatal to the application of Zauderer.

23         In an effort to     suggest that AB 587 is “uncontroversial” for

24   purposes of applying Zauderer, AG Bonta relies on CTIA-The Wireless



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 1   Ass’n v. City of Berkeley, California (“CTIA I”), 854 F.3d 1105

 2   (9th Cir. 2017), cert. granted, judgment vacated sub nom., 138 S.

 3   Ct. 2708 (2018).        Opp. at 10, 11–12, 34–35.      But, as this Court

 4   previously recognized, CTIA I was vacated after the Supreme Court’s

 5   decision in Nat’l Inst. of Fam. & Life Advocs. v. Becerra (“NIFLA”),

 6   138 S. Ct. 2361 (2018), which revisited and clarified the holding

 7   in Zauderer.      See Nat’l Ass’n of Wheat Growers v. Becerra, 468 F.

 8   Supp. 3d 1247, 1253 n.7, 1258 (E.D. Cal. 2020) (Shubb, J.) (noting

 9   that the decision in CTIA I was vacated after NIFLA).           The portion

10   of CTIA I addressing the meaning of “controversial” thus provides

11   no assistance to AG Bonta here.        See id. at 1258.

12         Under the relevant and controlling test, Zauderer does not

13   apply to AB 587 because it compels speech concerning editorial

14   judgments      about      content-moderation      decisions      that      are

15   intrinsically controversial. Thus, instead of the relaxed standard

16   in Zauderer, strict scrutiny applies because – as acknowledged by

17   the AG – AB 587 is content based.          See Opp. at 32.

18         As   both   the    legislative   history   and   AG    Bonta’s    public

19   statements make clear, one purpose of AB 587 is to “pressure [X

20   Corp. and other covered social media companies] to become better

21   corporate citizens by doing more to eliminate hate speech and

22   disinformation.”        Kurtzberg Aff. Ex. 5 (Cal. Assemb. Comm. on

23   Judiciary Report, 2021–22 Sess. (AB 587), Apr. 27, 2021) at 4).

24   That conceded purpose in and of itself requires application of



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 1   strict scrutiny, since the State acknowledges that one purpose of

 2   AB 587 is to coerce companies to disfavor or eliminate certain

 3   constitutionally-protected              speech       that      the     State      finds

 4   objectionable.       See Reed, 576 U.S. at 166 (“strict scrutiny applies

 5   either when a law is content based on its face or when the purpose

 6   and justification for the law are content based”); R.A.V. v. St.

 7   Paul, 505 U.S. 377, 391–96 (1992) (applying strict scrutiny when

 8   law targets particular viewpoints).

 9         AB 587 permits the Attorney General to use his enforcement

10   powers     to    impermissibly     “pressure”        social    media   companies    to

11   regulate        content    in   ways   that   the     Attorney   General       desires.

12   Confirming this, AG Bonta has already sent a threatening letter to

13   X Corp. and other social media companies insisting that they have

14   an obligation to remove what he perceives as “disinformation” and

15   “misinformation” from their platforms and making clear that he will

16   use enforcement of AB 587 to pressure them to do so.                   See Affidavit

17   of Wifredo Fernandez, dated Oct. 4, 2023 (“Fernandez Aff.”) Ex. 1

18   (Letter from Attorney General Bonta to Twitter, Inc., et al. (Nov.

19   3, 2022)) at 1–2, 4.               X Corp.’s evidence explaining that it

20   interpreted AG Bonta’s letter as any sophisticated reader of it

21   would — namely, as a veiled threat, id. ¶ 19 — remains unrebutted.

22         AB    587     thus    impermissibly         interferes   with    social     media

23   companies’ First Amendment rights to make editorial judgments free

24   of governmental interference.            See Herbert v. Lando, 441 U.S. 153,



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 1   172-174 (1979) (noting that a law that “subjects the editorial

 2   process   to   private   or   official       examination   merely   to   satisfy

 3   curiosity or to serve some general end such as the public interest

 4   . . . would not survive constitutional scrutiny as the First

 5   Amendment is presently construed” and concluding that “if inquiry

 6   into editorial conclusions threatens the suppression . . . of

 7   truthful information,” it raises First Amendment problems); Miami

 8   Herald Pub. Co. v. Tornillo, 418 U.S. 241, 258 (1974) (holding that

 9   “[t]he choice of material to go into a newspaper, and the decisions

10   made as to limitations on the size and content of the paper, and

11   treatment of public issues and public officials — whether fair or

12   unfair — constitute the exercise of editorial control and judgment.

13   It has yet to be demonstrated how governmental regulation of this

14   crucial process can be exercised consistent with First Amendment

15   guarantees of a free press as they have evolved to this time.”).

16         For these reasons and the others discussed below, AB 587 is

17   subject to strict scrutiny, the highest form of judicial review.

18   But in the end, regardless of what level of scrutiny applies, AB

19   587 cannot stand.     The State argues that the law furthers the lofty

20   interest of keeping its citizens “informed, enfranchised, and

21   safe,” Opp. at 1-2, but AG Bonta fails to demonstrate, as is his

22   evidentiary burden, that (1) the problem he seeks to solve is real,

23   (2) AB 587 will “directly and materially” advance his goals, and

24   (3) the means used under AB 587 do not restrict more speech than



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 1   is necessary to accomplish those goals.

 2          Finally, AB 587 violates the immunity provided by Section 230

 3   of    the    Communications      Decency    Act    (“Section    230”)    because   it

 4   imposes      penalties   if   social     media     companies    fail    to   regulate

 5   content on their platforms in the manner imposed by the statute.

 6   Since Section 230 precludes liability for “any action voluntarily

 7   taken in good faith to restrict access to or availability of

 8   material that the provider or user considers to be obscene, lewd,

 9   lascivious, filthy, excessively violent, harassing, or otherwise

10   objectionable,” 47 U.S.C. § 230(c)(2) (emphasis added), AB 587

11   conflicts with that provision.             “Any action” means “any action” —

12   even those taken without the required disclosures imposed by AB

13   587.        For this additional reason, the Court should enjoin the

14   enforcement of AB 587.

15                                           ARGUMENT

16        I.     AB 587 Violates The First Amendment To The United States
                 Constitution And Article 1, Section 2, Of The California
17               Constitution

18          AG Bonta concedes that “AB 587 is content based,” Opp. at 32,

19   and    attempts    to    avoid    the    consequences    that    flow    from    that

20   admission (i.e., application of strict scrutiny).                  He attempts to

21   do so by arguing that AB 587 is subject to Zauderer or Central

22   Hudson scrutiny because it involves compelled “commercial speech”

23   that is “purely factual” and “uncontroversial.”                        But AB 587’s

24   compelled disclosures are not commercial speech, which renders both



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 1   Zauderer and Central Hudson inapplicable.           And Zauderer does not

 2   apply for the additional reason that AG Bonta has not satisfied

 3   his burden of demonstrating that the speech compelled by AB 587 is

 4   both “purely factual” and “uncontroversial.”          Thus, “[b]ecause AB

 5   [587] does not regulate commercial speech, or any other form of

 6   speech entitled to reduced scrutiny only,” this Court must legally

 7   “apply strict scrutiny to determine its validity.”            IMDb.com Inc.

 8   v. Becerra, 962 F.3d 1111, 1125 (9th Cir. 2020).            In any event, AB

 9   587 fails under any level of First Amendment scrutiny — whether it

10   is Zauderer, intermediate scrutiny under Central Hudson, or strict

11   scrutiny.

12                 a. Neither Zauderer Nor Central Hudson Applies Because
                      The Speech Compelled By AB 587 Is Not Commercial
13
                       i. The Test For Determining Commercial Speech Is
14                        Whether The Speech Does No More Than Propose A
                          Commercial Transaction
15
           Because AB 587 regulates non-commercial speech, neither the
16
     test set forth under Zauderer nor the intermediate scrutiny test
17
     under Central Hudson applies.       AG Bonta concedes that the standards
18
     of   review    under   Zauderer    and   Central   Hudson   apply    only   to
19
     regulations that govern commercial speech.          See Opp. at 8, 13 n.5,
20
     19 (noting that the Zauderer test applies to “compelled commercial
21
     disclosures” or “compelled commercial speech”); id. at 20 (noting
22
     that the “Central Hudson intermediate scrutiny test” applies to
23
     “commercial speech”); see also Nat’l Ass’n of Wheat Growers, 468
24
     F. Supp. 3d at 1253, 1257 (Zauderer governs “compelled commercial


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 1   speech” and Central Hudson governs “commercial speech”) (Shubb,

 2   J.) (emphasis added).

 3         AG Bonta buries his entire discussion of whether the speech

 4   at issue in this case is “commercial” in a footnote that misstates

 5   the relevant legal test.       Opp. at 21 n.8 (citing Hunt and Bolger

 6   in support of a three-factor test for determining when speech is

 7   commercial, examining whether (1) the speech is an advertisement,

 8   (2) the speech refers to a particular product, and (3) the speaker

 9   has an economic motivation).       The relevant legal test, however, is

10   not in doubt.    The United States Supreme Court has repeatedly held

11   — no less than six times — that speech is commercial when it “does

12   no more than propose a commercial transaction.”          Va. State Bd. Of

13   Pharmacy, 425 U.S. at 762 (quotation marks omitted); see also

14   Central Hudson, 447 U.S. at 562 (describing commercial speech as

15   “speech proposing a commercial transaction”); Bolger, 463 U.S. at

16   66 (“commercial speech” is speech “which does no more than propose

17   a commercial transaction”) (quotation marks omitted); City of

18   Cincinnati, 507 U.S. at 422 (same); Fox, 492 U.S. at 482 (“speech

19   that proposes a commercial transaction” is “what defines commercial

20   speech”) (emphasis in original); United Foods, Inc., 533 U.S. at

21   409 (“commercial speech” is “defined as speech that does no more

22   than propose a commercial transaction”).         Ninth Circuit case law,

23   including that relied on by Defendant, similarly holds that the

24   correct test for identifying commercial speech is whether it “does



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 1   no more than propose a commercial transaction.”               IMDb.com Inc.,

 2   962 F.3d at 1122 (quoting Va. State Bd. of Pharmacy, 425 U.S. at

 3   762); Hunt, 638 F.3d at 715 (“Commercial speech is ‘defined as

 4   speech that does no more than propose a commercial transaction.’”)

 5   (quoting United Foods, Inc., 533 U.S. at 409).

 6         Unable to satisfy the relevant test, AG Bonta chooses to

 7   ignore it, instead citing Hunt and Bolger for the three-factor test

 8   cited above and suggesting — erroneously — that it supplies the

 9   relevant standard.      Opp. at 21 n.8.         As the very case cited by AG

10   Bonta (Hunt) explains, however, it is only in cases “[w]here the

11   facts present a close question” as to whether the speech “does no

12   more than propose a commercial transaction” that courts will even

13   consider the three factors cited by AG Bonta — i.e., whether (1)

14   “the speech is an advertisement,” (2) “the speech refers to a

15   particular     product,”   and     (3)   “the     speaker   has   an   economic

16   motivation.”     638 F.3d at 715 (citing Bolger, 463 U.S. at 66–67).

17   If all three of those factors are present, then a strong case can

18   be made that the speech is commercial.            Id.

19         As Hunt makes clear, the three-factor test for difficult cases

20   comes from Bolger, where the Supreme Court found that contraceptive

21   advertisement mailings were commercial speech because, despite

22   “contain[ing] discussions of important public issues,” they were

23   “advertisements,” they “refer[red] to a specific product,” and

24   appellants had “an economic motivation for mailing the pamphlets.”



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 1   Bolger, 463 U.S. at 66–68.         The question there was whether speech

 2   that did propose a commercial transaction and also touched on

 3   issues of public concern, was or was not commercial speech.                 That

 4   is the type of difficult case to which the Bolger test applies.

 5   In contrast, the speech compelled by AB 587 does not propose any

 6   commercial transaction whatsoever; thus, the three-factor test is

 7   inapplicable.

 8         Defendant also fails to acknowledge Supreme Court and Ninth

 9   Circuit precedent holding that “[c]ommercial speech does not retain

10   its commercial character ‘when it is inextricably intertwined with

11   otherwise fully protected speech.’”            Hunt, 638 F.3d at 715 (quoting

12   Riley v. Nat'l Fed’n of the Blind of N. Carolina, Inc., 487 U.S.

13   781, 796 (1988)); see also id. at 713 (quoting Gaudiya Vaishnava

14   Soc. v. City & Cnty. of San Francisco, 952 F.2d 1059 (9th Cir.

15   1990), as amended on denial of reh’g (Dec. 26, 1991) (“First

16   Amendment protection applies to the sale of merchandise so long as

17   the ‘sale of merchandise [] is inextricably intertwined with a

18   statement    carrying    a   religious,        political,   philosophical    or

19   ideological message’”)).

20         AG Bonta’s omissions about the relevant legal standard are

21   telling here because AB 587 compels disclosures that do not in any

22   way propose a commercial transaction, and, at the very least,

23   encompass communications that convey information about issues of

24   public   concern   —   namely,     how   X    Corp.   moderates   controversial



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 1   content on its social media platform.

 2                  ii. AB 587’s Compelled Disclosures Do Not Propose A
                        Commercial Transaction And Are Intertwined With
 3                      Otherwise Fully Protected Speech

 4          AB 587’s compelled disclosures are not commercial speech

 5   because they do not propose a commercial transaction at all.

 6   IMDb.com Inc., 962 F.3d at 1122 (Bolger factors should be analyzed

 7   only if there is a “close question” about whether the speech does

 8   nothing more than propose a commercial transaction); Hunt, 638 F.3d

 9   at 715 (same).        Here, on the other hand, X Corp.’s content-

10   moderation policies and information about how those policies have

11   been applied have various purposes — e.g., they inform users who

12   are already on the platform what the rules are; they outline X’s

13   free speech principles; and they convey X’s political views about

14   what kind of content moderation rules promote the public good.

15   None   of   these   purposes   are   remotely   related   to   proposing   a

16   commercial transaction.

17          The facts in both Hunt and IMDb.com Inc. are illustrative.

18   The plaintiffs in Hunt were two Venice Beach Boardwalk salesmen,

19   who sold shea butter and incense holders, respectively, and the

20   regulated speech involved the sales pitches for both products

21   (e.g., the shea butter salesman’s “standard sales pitch” and the

22   incense salesman’s explanation that his product was “better than a

23   lot of the other commercial available incense”).           Hunt, 638 F.3d

24   at 708. The Ninth Circuit found that the speech “clearly propose[d]



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 1   a commercial transaction” because “the core of Plaintiffs’ speech

 2   [was] directed to their products and why a consumer should buy

 3   them.”       Id. at 716.           The Ninth Circuit also found that “any

 4   noncommercial aspect of Plaintiffs’ speech [was] not inextricably

 5   intertwined        with   commercial        speech”     because    plaintiffs    could

 6   “easily   sell      their       wares    without    reference     to   any   religious,

 7   philosophical, and/or ideological element, and they could also

 8   express any noncommercial message without selling these wares.”

 9   Id.   This is the sort of pure commercial speech that qualifies for

10   Central Hudson review, but it bears no relation to the type speech

11   AB 587 is focused upon, which has nothing to do with “why a consumer

12   should [use]” X.          Id.

13         In contrast, in IMDb.com Inc., the Ninth Circuit found that

14   the speech at issue — publication of the ages and dates of birth

15   of entertainment industry professionals on a website — was not

16   commercial speech because the “public profiles on IMDb.com,” on

17   which the regulated speech appeared, did “not propose a commercial

18   transaction.”       962 F.3d at 1122.             The Ninth Circuit stated that it

19   “need not reach the Bolger factors” because analysis of those

20   factors is only “relevant if the facts present a ‘close question.’”

21   Id. (citing Hunt, 638 F.3d at 715).

22         Just    as    IMDb.com’s          “public    profiles”    did    not   propose   a

23   commercial transaction, id., neither do the types of disclosures

24   at issue in connection with AB 587 — i.e., X Corp.’s content-



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 1   moderation policies and statistics about how it applies those

 2   policies to certain categories of speech.        Both may be features of

 3   the company’s overall product, but that does not mean the speech

 4   proposes a commercial transaction and deserves less protection

 5   under the First Amendment as a result.

 6         In any event, even if this were a “close question” (and it is

 7   not), and if the Bolger factors were to apply, the speech at issue

 8   would still not be commercial.       As to the first Bolger factor, AG

 9   Bonta concedes that AB 587’s compelled disclosures are not an

10   advertisement. Opp. at 21 n.8. As to the second and third factors,

11   AG Bonta argues that the disclosures “relate to a ‘particular

12   product’ (i.e., the platforms) and are made with the economic

13   motivation for people to elect to properly utilize the platforms.”

14   Id.    But speech does not automatically “relate to a particular

15   product” merely by referring to some aspect of it.            See IMDb.com

16   Inc., 962 F.3d at 1122 (“nothing in the record indicates that

17   IMDb.com profiles . . . refer to a particular product”).             Thus,

18   even if statements about content moderation on X refer to an aspect

19   of the platform, the statements that are compelled by AB 587 are

20   not referring to a particular product – and certainly are not part

21   of an effort to entice someone to purchase a product.         Accordingly,

22   AB 587’s compelled disclosures are not commercial speech, “even

23   assuming [X Corp.] has a financial interest in its [content-

24   moderation policies].”      Id. (quoting Dex Media W., Inc. v. City of



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 1   Seattle, 696 F.3d 952, 960 (9th Cir. 2012) (“economic motive in

 2   itself    is   insufficient        to   characterize    a   publication      as

 3   commercial”)).      Under AG Bonta’s conception of the commercial

 4   speech test, any statement made by any company could be, if it

 5   concerned the company in any way, commercial speech.                  That is

 6   clearly not the law.          See Kronemyer v. Internet Movie Database

 7   Inc., 150 Cal. App. 4th 941, 949 (2007) (“If appellant’s position

 8   that the prospect of some financial benefit from a publication

 9   places the material in the area of ‘commercial speech,’ it would

10   include   virtually     all   books,    magazines,    newspapers,    and   news

11   broadcasts.    There is no authority for so sweeping a definition.”).

12         Finally, even if the speech at issue here were considered

13   commercial under Bolger (and it is not), it would still be subject

14   to strict scrutiny because it is, at the very least, “inextricably

15   intertwined”     with   speech      “carrying   a    religious,     political,

16   philosophical or ideological message.”               Hunt, 638 F.3d at 715

17   (quoting Riley, 487 U.S. at 796; Gaudiya, 952 F.2d at 1066).                 It

18   is clear, based on AB 587’s plain text, its legislative history,

19   and X Corp.’s evidence, that AB 587’s compelled disclosures are

20   inextricably intertwined with core political speech.                See, e.g.,

21   Kurtzberg Aff. Ex. 6 at 4 (The categories of content regulated by

22   AB 587 are “often fraught with political bias.”); id. (“both action

23   and inaction by [social media] companies seems to be equally

24   maligned: too much moderation and accusations of censorship and



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 1   suppressed    speech   arise;      too   little,    and   the   platform   risks

 2   fostering a toxic, sometimes dangerous community”); T&S Aff. ¶ 25

 3   (“deciding what content should appear on a social media platform

 4   is a question that engenders considerable debate among reasonable

 5   people about where to draw the correct proverbial line”); id. ¶ 26

 6   (“no matter what we do, some portion of the public will likely take

 7   issue with the way we have made these difficult judgment calls”);

 8   Elron Aff. ¶¶ 5–8, 11–15.          Critically, the manner in which X Corp.

 9   defines     controversial       categories     of     speech     —   such    as

10   “misinformation” or “hate speech” — to moderate on its social media

11   platform, how it applies those definitions in specific cases, and

12   statistics concerning how often it “flags” such content are all

13   statements that reveal X Corp.’s position on important questions

14   of public concern about what kinds of content moderation rules

15   promote the public good.        As such, the speech compelled by AB 587

16   is, at the very least, “inextricably intertwined” with a core

17   “political, philosophical or ideological message.”              Hunt, 638 F.3d

18   at 715; see also Riley, 487 U.S. at 796; Gaudiya, 952 F.2d at 1066.

19   It is therefore subject to strict scrutiny, and not any less-

20   stringent standard of review that applies to compelled commercial

21   speech.

22

23

24



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 1               b. Zauderer Does Not Apply Because AB 587’s Compelled
                    Disclosures Are Not Purely Factual And Uncontroversial
 2
           Zauderer does not apply for the additional reason that AB
 3
     587’s compelled disclosures are neither (1) purely factual nor (2)
 4
     uncontroversial.         See Zauderer, 471 U.S. at 650-51 (reasonably
 5
     related test applies only if advertising in question is “purely
 6
     factual and uncontroversial information”).
 7
           First, AB 587’s compelled disclosures are not “purely factual”
 8
     because speaking about one’s own editorial judgments is an exercise
 9
     inherently bound up in expressing opinions and discretion.               While
10
     the   Supreme    Court    has   not   clarified   what   constitutes    “purely
11
     factual” information for Zauderer purposes, the qualifier “purely”
12
     strongly suggests that it was not intended to apply to the types
13
     of disclosures about content-moderation policies that are governed
14
     by AB 587.      As one leading commentator has stated:
15
           For example, it might be a pure fact whether the
16         publisher has an editorial policy, but it would not be a
           pure fact to disclose the policy’s details, which remain
17         subject to the publisher’s editorial discretion. . . .
           Similarly, consider California’s requirement that an
           online publisher disclose the number of items it has
18         ‘actioned.’   This disclosure is impossible because it
           assumes there are only two outcomes for any content item:
19         actioned or not. In reality, every item is prioritized
           or deprioritized relative to other items. Furthermore,
20         if   [social   media   companies]   personalize   content
           ordering, items may be ‘actioned’ for some readers and
21         not actioned for others. This complexity and ambiguity
           makes it impossible to characterize ‘actioned’ as a
           ‘purely factual’ disclosure.
22

23   Affidavit of Joel Kurtzberg, dated November 2, 2023 (“Kurtzberg II

24   Aff.”)   Ex.    1   (Eric   Goldman, Zauderer     and    Compelled   Editorial

     Transparency, 108 Iowa L. Rev. Online 80, 93 (2023)).                Similarly,

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 1   while certain content-moderation statistics, such as the total

 2   number of flagged items, see § 22677(a)(5)(A), may be purely

     factual, the act of explaining why they were flagged — e.g., by
 3
     “disaggregat[ing]” those statistics by content                      category or by
 4
     revealing     who   brought     the    content     to   X’s   attention,      see   §§
 5
     22677(a)(5)(B)(i), (iv) — is not.               The disclosures compelled by AB
 6
     587 are a far cry from “simple factual disclosure of caloric
 7   information” and other “pure facts” of the sort that have triggered
 8   the less-stringent standard of review under Zauderer.                      See, e.g.,

 9   New York State Rest. Ass’n v. New York City Bd. of Health, 556 F.3d

10   114,   118   (2d    Cir.    2009)     (applying    Zauderer    to    law    requiring

     disclosures of caloric information of items sold at restaurants).
11
            Second, AB 587’s compelled disclosures are nowhere close to
12
     being uncontroversial.          On this point, AG Bonta again misstates
13
     the relevant legal test, arguing that, under the Ninth Circuit’s
14
     decision in CTIA I, “‘[u]ncontroversial’ refers to the ‘factual
15
     accuracy of the compelled disclosure, not to its subjective impact
16
     on the audience.’”         Opp. at 10, 11–12, 34–35 (quoting CTIA I, 854
17
     F.3d   at    1117–18)      (holding    that     Zauderer   requires     “only    that
18
     information be ‘purely factual’”).                But, of course, that is not
19
     the law.     As this Court has noted, the Supreme Court vacated CTIA
20
     I in light of the Supreme Court’s decision in NIFLA, which clarified
21
     the Zauderer standard, and, on remand, the Ninth Circuit “did not
22
     repeat its prior rule that ‘controversial’ under Zauderer means
23
     factually accurate.”         Nat’l Ass’n of Wheat Growers, 468 F. Supp.
24
     3d at 1258 (citing CTIA - The Wireless Ass’n v. City of Berkeley,

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 1   California (“CTIA II”), 928 F.3d 832, 846–48 (9th Cir. 2019)).             In

 2   fact, NIFLA could not have come down the way it did if Defendant’s

 3   view of the meaning of the term “uncontroversial” were accurate,

 4   since the Supreme Court in NIFLA found the compelled speech at

 5   issue    (a    statement     that     California    provides     abortions)

 6   controversial, despite it being factually accurate.            NIFLA, 138 S.

 7   Ct. at 2372; see also CTIA II, 928 F.3d at 845 (explaining that,

 8   in NIFLA, “[w]hile factual, the compelled statement took sides in

 9   a heated political controversy, forcing the clinic to convey a

10   message fundamentally at odds with its mission,” and was therefore

11   “controversial within the meaning of Zauderer and NIFLA”).

12          Under the relevant law, Zauderer review is not warranted

13   simply because a statement is factually accurate.              See CTIA II,

14   928 F.3d at 847 (“We recognize, of course, that a statement may be

15   literally true but nonetheless misleading and, in that sense,

16   untrue.”).        While    the      meaning   of   “purely     factual     and

17   uncontroversial” has “not been completely examined by the Supreme

18   Court or the Ninth Circuit,” Nat’l Ass’n of Wheat Growers, 468 F.

19   Supp. 3d at 1258, AB 587’s compelled disclosures are not of the

20   sort    that   warrant    lessened     constitutional   protection       under

21   Zauderer.

22          First, as its legislative history makes crystal clear, AB 587

23   compels extremely controversial speech.            Defining controversial

24   categories of speech, such as hate speech, racism, extremism,



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 1   radicalization, disinformation, misinformation, harassment, and

 2   foreign      political       interference        is      “anything            but     an

 3   ‘uncontroversial’ topic.”          NIFLA, 138 S. Ct. at 2372.1            Each such

 4   definition is “fraught with political bias” and decisions about

 5   how to apply such definitions generate significant controversy no

 6   matter    what    because,   as    regards     content    moderation      of        these

 7   categories, “both action and inaction” are “equally maligned” by

 8   the public.      Kurtzberg Aff. Ex. 6 at 4; see also T&S Aff. ¶¶ 25–

 9   29; Elron Aff. ¶¶ 5–8, 11–15.              Similarly, AB 587’s legislative

10   record makes clear that one purpose of the law is to “pressure”

11   social     media     companies       to    “eliminate         hate    speech         and

12   disinformation.”      See, e.g., Kurtzberg Aff. Ex. 5 at 4.                   That, in

13   itself, is an admission that AB 587’s compelled disclosures are

14   controversial.      If there were no controversy about the disclosures,

15   it is difficult to understand how the legislation would generate

16   public “pressure” to moderate content a certain way.                     Indeed, it

17   is precisely because AB 587’s compelled disclosures focus on how

18   the most controversial categories of content are moderated that

19   “no matter what,” X Corp. will be met with public scorn about its

20   decisions.       T&S Aff. ¶¶ 26, 28 (emphasis added); see also Elron

21   Aff. ¶ 6 (controversy occurs whether X Corp. “take[s] enforcement

22   action    against    certain      posts   or   users”    or    “do[es]    not       take

23   enforcement action against certain posts or users”).

24
     1
        Choosing not      to   define/moderate       such     categories      is     equally
     controversial.

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 1          Second, AB 587’s disclosure provisions are inherently distinct

 2   from    those   at   issue    in   NetChoice,     LLC   v.   Att’y    Gen.,   Fla.

 3   (“NetChoice (Fla.)”), 34 F.4th 1196 (11th Cir. 2022) and NetChoice,

 4   LLC v. Paxton (“NetChoice (Tex.)”), 49 F.4th 439 (5th Cir. 2022),

 5   to which the 11th and 5th Circuit Courts of Appeal applied Zauderer,

 6   and are analogous to the compelled disclosures at issue in Volokh

 7   v. James, 2023 WL 1991435 (S.D.N.Y. Feb. 14, 2023), to which the

 8   court    applied     strict   scrutiny.        Specifically,    the   disclosure

 9   provisions at issue in the NetChoice cases were content-neutral.

10   See NetChoice (Fla.), 34 F.4th at 1227 (“S.B. 7072’s disclosure

11   provisions” are “content-neutral regulations”); NetChoice (Tex.),

12   49 F.4th at 446.      Here, not only is “AB 587 [] content based,” Opp.

13   at 32, it targets content categories that are “among the most

14   difficult to define and most controversial to apply,” T&S Aff. ¶

15   29.     AB 587’s compelled disclosures are thus analogous to those

16   required by the New York law at issue in Volokh, which “regulate[d]

17   speech based on its content” by forcing social media networks to

18   publish certain policies and statistics about regulation of a

19   particular type of content, “hateful conduct.”                 2023 WL 1991435,

20   at *8.    The court therefore determined that “the appropriate level

21   of review [was] strict scrutiny” and struck down the law on that

22   basis.    Id.   AB 587 similarly applies only to particular content

23   categories, see § 22677(a)(3), and the same result that occurred

24   in Volokh is warranted here.          As one leading commentator put it,



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 1   “[p]latform transparency mandates like the ones in New York [at

 2   issue in Volokh] and California [i.e., AB 587] create burdens and

 3   enforcement risks that, like those in NetChoice, may affect the

 4   platforms’ actual editorial functions.          But they do so only for

 5   particular kinds of editorial policies.        The result, recognized in

 6   [Volokh] . . . is a content-based burden on editorial processes”

 7   that warrants application of strict scrutiny.          Kurtzberg Aff. Ex.

 8   27 (Daphne Keller, Platform Transparency and the First Amendment,

 9   Stanford Cyber Policy Center (Mar. 3, 2023)) at 36–37.

10                c. Strict Scrutiny Applies To AB 587

11                    i. Strict Scrutiny Applies Because AB 587 Is A
                         Content- And Viewpoint-Based Speech Regulation
12
            AG Bonta concedes that “AB 587 is content based,” Opp. at 32,
13
     and argues that strict scrutiny does not apply because AB 587
14
     compels commercial speech.         But, as shown above, AB 587 does not
15
     compel commercial speech, which renders Zauderer and Central Hudson
16
     inapplicable.    In light of that, the law is clear: strict scrutiny
17
     must apply.     Reed, 576 U.S. at 171 (“Because [the challenged law]
18
     imposes content-based restrictions on speech, those provisions can
19
     stand only if they survive strict scrutiny[.]”).
20
            Not only does AB 587 “target speech based on its communicative
21
     content,” which makes it “presumptively unconstitutional,” id. at
22
     163,    it   favors     particular   viewpoints    among   those     content
23
     categories.    AG Bonta’s arguments to the contrary, see Opp. at 32,
24
     are unavailing.       Sections 22677(a)(4) and (5) of the law, on their


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 1   face, impose additional burdens and reporting             requirements on

 2   social media companies, such as X            Corp., when they choose to

 3   regulate certain categories of constitutionally-protected speech —

 4   i.e.,     hate     speech,      racism,     extremism,      radicalization,

 5   disinformation, misinformation, harassment, and foreign political

 6   interference.

 7         AG Bonta offers no justification for the law’s focus on these

 8   categories of content, and it is difficult to take seriously his

 9   suggestion that the law is “facially neutral” and treats all

10   viewpoints the same.         Opp. at 32.    Given that the law is about

11   content moderation requirements — indeed, the Chapter the law is

12   contained in says as much in the heading — the very selection of

13   these categories of content strongly suggests that the State views

14   them as the type of content that should be moderated.                The very

15   selection     of   speech      categories    like   “hate     speech”     and

16   “disinformation” in this context as opposed to “LGBTQ+ speech” or

17   “government research” sends an obvious message about what kind of

18   content is expected to be limited on these platforms.                If there

19   were any doubt about this, the legislative history and evidentiary

20   record make this abundantly clear.          See, e.g., Kurtzberg Aff. Ex.

21   5 at 4 (“if social media companies are forced to disclose what they

22   do in this regard [i.e., how they moderate online content], it may

23   pressure them to become better corporate citizens by doing more to

24   eliminate hate speech and disinformation.”) (emphasis added); id.



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 1   Ex. 1 (Mot. to Dismiss, Minds, Inc., et al. v. Bonta, No. 23-cv-

 2   2705   (ECF    23-1)    (C.D.   Cal.    May    25,    2023))    at   15-16   (“[T]he

 3   Legislature also considered that, by requiring greater transparency

 4   about platforms’ content-moderation rules and decisions, AB 587

 5   may result in public pressure on social media companies to ‘become

 6   better corporate citizens by doing more to eliminate hate speech

 7   and disinformation’ on their platforms. . . . This, too, is a

 8   substantial     state    interest.”)     (emphasis      added);      Memorandum   of

 9   Points   and    Authorities     in     Support   of    Motion    for   Preliminary

10   Injunction (“PI Mot.”) at 36–39 (citing additional instances of

11   legislative history attacking particular viewpoints within these

12   categories); Fernandez Aff. Ex 1 (letter from AG Bonta threatening

13   enforcement of AB 587 while conveying to social media companies

14   that they have a “duty” and “obligation” to limit “disinformation”

15   and “misinformation” on their platforms).

16          AG Bonta’s effort to avoid having the Court look at the

17   legislative     history    on   this     point   is    understandable,       as   the

18   legislative history overwhelmingly proves what is already obvious

19   from a common sense reading of the statute itself — namely, that

20   AB 587 and the State are not neutral as between efforts to promote

21   hate speech, racism, disinformation, extremism, radicalization,

22   disinformation, misinformation, harassment, and foreign political

23   interference on social media and efforts to limit or eliminate

24   those categories of speech.            AG Bonta would never seriously argue



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 1   that, and no rational person reading AB 587 (even without the

 2   legislative history) would ever conclude that.

 3         Nor does the case law support AG Bonta’s argument that the

 4   Court should ignore the legislative history of AB 587 because the

 5   law is “facially neutral.”         AG Bonta cites Interpipe Contracting,

 6   Inc. v. Becerra, 898 F.3d 879, 899 (9th Cir. 2018), in support of

 7   this proposition, but Interpipe supports the opposite conclusion.

 8   Interpipe squarely acknowledges that a law’s “underinclusiveness

 9   and overinclusiveness,” which are “[t]wo indicia of discriminatory

10   motive,” would “prompt [a court] to consider extrinsic evidence to

11   help determine whether the California legislature did, in fact,

12   act with discriminatory intent.”             Id.   Such is the case here, as

13   AB 587 is clearly underinclusive, applying only to particular

14   “categories of content,” see § 22677(a)(3), (4), and (5), as

15   opposed to content moderation efforts generally, regardless of what

16   content is covered.

17         Because    AB    587   is     a   viewpoint-discriminatory      speech

18   regulation, it is “presumptively unconstitutional” and subject to

19   strict scrutiny.      Rosenberger v. Rector & Visitors of Univ. of Va.,

20   515 U.S. 819, 830-31 (1995); see R.A.V., 505 U.S. at 391–96 (laws

21   that target particular viewpoints trigger strict scrutiny).

22                   ii. Laws Regulating “Speech About Speech,” Such As AB
                         587, Warrant Heightened Scrutiny
23
           In its opening brief, Plaintiff pointed out that AB 587 should
24
     be subjected to heightened scrutiny for an additional reason —


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 1   namely,    that    the   statute    creates       a   “double     whammy”     of   First

 2   Amendment    problems     that     warrant       heightened      review    because    it

 3   violates    both    the    social        media    companies’      constitutionally-

 4   protected right to decide what is permitted on their platforms and

 5   the public’s right to access and disseminate constitutionally-

 6   protected    content      on     those    platforms       that    the     State     deems

 7   objectionable. PI Mot. at 54-55. AG Bonta’s efforts to distinguish

 8   Plaintiff’s “speech about speech” cases based on minor factual

 9   differences fail.        See Opp. at 30-31.

10         For example, Plaintiffs seek to distinguish Ent. Software

11   Ass’n v. Blagojevic, 469 F.3d 641 (7th Cir. 2006), on the ground

12   that the law at issue there, which required labeling “sexually

13   explicit” videogames with the numeral “18”, compelled disclosures

14   that were “subjective” and “opinion-based.” Opp. at 30-31 (quoting

15   id. at 643, 652–53).       But disclosing which posts should be actioned

16   as “hate speech,” “misinformation,” “extremism,” and so forth, is

17   also subjective and opinion-based, as it involves judgments about

18   controversial      content     moderation        categories      that   are   “quickly

19   evolving,” subject to “ongoing disagreement,” and where “certain

20   conclusions once considered to be within” the “consensus [are]

21   later proved to be false.”          Høeg v. Newsom, 2023 WL 414258, at *1,

22   *9 (E.D. Cal. Jan. 25, 2023) (Shubb, J.).

23         In   the    same   vein,    Plaintiffs       seek   to     distinguish       Motion

24   Picture Ass’n of Am. v. Specter, 315 F. Supp. 824 (E.D. Pa. 1970),



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 1   on the ground that the law there, which imposed criminal penalties

 2   on a film exhibitor’s misrepresentation that a film is “suitable

 3   for   family   viewing,”    was     “entirely    subjective.”        Opp.   at   31

 4   (quoting id. at 825–26).         But the same is true here: AB 587 permits

 5   the California Attorney General to fine social media companies for

 6   misrepresentations       about     whether     posts   are   subject   to   being

 7   actioned as, for example, “hate speech” or “extremism” under the

 8   companies’ policies, which is likewise entirely subjective.

 9         As to Smith v. California, 361 U.S. 147 (1959), AG Bonta

10   argues that the same concerns that motivated the Supreme Court to

11   strike down a law imposing strict liability on booksellers for

12   selling obscene books are not present with AB 587 because AB 587

13   “does not functionally require Plaintiff to change its terms of

14   service or content moderation practices” and the fact that the

15   public might pressure it to change its practices does not make the

16   law unconstitutional.       Opp. at 30.         That supposed distinction is

17   based on a misunderstanding of the concerns that motivated the

18   Court in Smith.

19         The   Court   in   Smith     was   not    concerned    about   booksellers

20   refusing to sell obscene works, but rather that the pressures of a

21   strict liability regime might cause them to self-censor in a way

22   that would impact sales of protected works to the public as well.

23   See Smith, 361 U.S. at 153-54.           As the Court made clear, it struck

24   down the law to avoid “self-censorship, compelled by the State,



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 1   which would be a censorship affecting the whole public, hardly less

 2   virulent       for    being   privately    administered.      Through   it,    the

 3   distribution of all books, both obscene and not obscene, would be

 4   impeded.”       Id.    So too with AB 587.        Like the ordinance at issue

 5   in Smith, AB 587 is designed to and will likely have the functional

 6   effect    of    pressuring     social     media   companies   to   change    their

 7   content-moderation practices.             See PI Mot. at 10, 56.     That self-

 8   censorship “would be a censorship affecting the whole public,

 9   hardly less virulent for being privately administered.”                     Smith,

10   361 U.S. at 154.

11         In any event, regardless of whether the cases cited — Smith,

12   Blagojevic, and Specter — are factually identical to this one, they

13   all illustrate the need for heightened review when restrictions or

14   burdens are placed on gatekeepers of speech.

15         All three cases make that point.             By substantively impacting

16   Plaintiff’s constitutionally-protected speech (its moderation of

17   content), AB 587, like the regulations at issue in those cases,

18   impacts     multiple      layers   of     constitutionally-protected        speech

19   (i.e., AB 587 impacts what speech X users can see and disseminate

20   on the platform in addition to X Corp.’s constitutionally-protected

21   right to exercise judgments about what speech it wants on its

22   platform).      In other words, when regulations directly or indirectly

23   impact the speech of those charged with making decisions about the

24   proverbial “gates of speech” — e.g., books (Smith), video games



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 1   (Blagojevic), and motion pictures (Specter) — they necessarily

 2   interfere with the speech rights of both the gatekeepers and

 3   speakers on the other side of the gate, thus causing a “double

 4   whammy” of constitutional infirmities.           It is for this reason that

 5   AB 587 warrants heightened scrutiny as a regulation of “speech

 6   about speech.”

 7         AG Bonta does not dispute that AB 587 impacts both the speech

 8   of X Corp. and of those who use the X platform; in fact, the

 9   legislative history and AG Bonta’s briefs in defense of the statute

10   both say outright that the law is intended to do so.             See, e.g.,

11   Kurtzberg Aff. Ex. 5 at 4 (“if social media companies are forced

12   to disclose what they do in this regard [i.e., how they moderate

13   online content], it may pressure them to become better corporate

14   citizens     by   doing     more   to        eliminate   hate   speech   and

15   disinformation.”) (emphasis added); id. Ex. 1 (“[T]he Legislature

16   also considered that, by requiring greater transparency about

17   platforms’ content-moderation rules and decisions, AB 587 may

18   result in public pressure on social media companies to ‘become

19   better corporate citizens by doing more to eliminate hate speech

20   and disinformation’ on their platforms. . . . This, too, is a

21   substantial state interest.”).       And while AG Bonta tries to offer

22   factual distinctions between this case, on the one hand, and Smith,

23   Blagojevic, and Specter, on the other, he tellingly never denies

24   that AB 587 regulates “speech about speech” or explains why the



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 1   fact that the law impacts two separate and significant sets of

 2   speech rights does not warrant heightened scrutiny.

 3         In the end, AB 587’s compelled disclosure regime is designed

 4   to and will pressure social media companies, such as X Corp., to

 5   alter their content moderation practices. Compelled speech regimes

 6   may be constitutional in areas where they do not substantively

 7   alter First Amendment-protected speech, but by “pressur[ing]” X

 8   Corp.     to    “eliminate,”       for   instance,        “hate     speech     and

 9   disinformation” from its platform, Kurtzberg Aff. Ex. 5 at 4, that

10   is exactly what AB 587 does.

11                   iii. AG Bonta Is Using AB 587 To Coerce X Corp. Into
                          Moderating Content In A Particular Way, Which
12                        Further Demonstrates Why Strict Scrutiny Applies

13         In describing the “pressure” that AB 587 will cause to be

14   applied    to   social   media     companies      to   change     their    content

15   moderation policies, AG Bonta takes great care to focus solely on

16   the public pressures that might result from the law.                 See, e.g.,

17   Opp. at 30 (“The law is not unconstitutional merely because the

18   public    may    not   have   a    wholly      positive   reaction    to     those

19   disclosures”).     But, as the undisputed record makes clear, that is

20   not the only pressure with which the Court should be concerned.

21   One of the main dangers of AB 587 is that it permits the government

22   to pressure social media companies to regulate content on their

23   platforms to disfavor content that the State finds objectionable.

24   That concern is not theoretical.              It has already happened in the



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 1   form of a November 3, 2022 letter from AG Bonta to the CEOs of

 2   major social media companies (including X Corp.) wherein the AG

 3   threatens to enforce AB 587 against the companies if they do not

 4   do more to remove or limit on their sites what AG Bonta calls

 5   “disinformation” and “misinformation.”        See Fernandez Aff. Ex. 1.

 6         On this point, X Corp. submitted substantial evidence in the

 7   form of an affidavit from Wifredo Fernandez.         The affidavit, which

 8   attached the November 3 letter, highlighted language emphasizing

 9   AG    Bonta’s    message     that   the    companies     had   a     “duty,”

10   “responsibility,” and “obligation” to do more to combat these kinds

11   of speech, and, at the same time, threatened to enforce AB 587.

12   Mr. Fernandez concluded that “letters from Attorneys General, such

13   as this one, that ‘urge’ companies to take action that the Attorney

14   General claims they have a ‘duty’ or ‘responsibility’ to do, and,

15   at the same time, threaten enforcement of certain specified laws,

16   are a precursor to legal action taken by the Attorney General if

17   the companies don’t ‘voluntarily’ take the actions requested by

18   the Attorney General.”      Id. ¶ 18.

19         In response to this evidence, AG Bonta could have submitted

20   evidence saying that he did not intend to use enforcement of AB

21   587 as a way of pressuring social media companies to change their

22   content moderation policies to suit his preferences — but he chose

23   not to do so.     That decision speaks volumes.

24         In defending the November 3 letter, AG Bonta submits that “the



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 1   letter is not part of the bill’s legislative history,” “[t]he

 2   eight-page      letter    briefly    mentions     AB   587    only    once,”     and

 3   “[n]owhere does the letter state that AB 587 would be enforced

 4   beyond the scope of its facial disclosure requirements.”                     Opp. at

 5   16 n.7, 35.      But those statements miss the point.             The letter is

 6   significant, not because it constitutes “legislative history,” but

 7   rather because it starkly reveals the “pressures” that AB 587

 8   imposes    on    social    media    companies     to   change    their       content

 9   moderation policies.       Those pressures come not just from the public

10   but   also,     more     importantly,      from   governmental        threats     of

11   enforcement.

12         These dangers are real.              AG Bonta’s Opposition does not

13   dispute that he maintains unfettered discretion to determine what

14   may constitute a “material[] omi[ssion] or misrepresent[ation]” in

15   violation of the statute, § 22678(a)(2)(C), or that he could issue

16   costly    subpoenas      and   document     demands    or    initiate    a    costly

17   enforcement      proceeding        based    on    nothing      more     than     his

18   interpretation of whether a report submitted by a social media

19   company failed to include certain requisite material.                    While AG

20   Bonta’s Opposition focuses on § 22678(a)(3), which states that,

21   when assessing penalties, the “court shall consider” whether a

22   “reasonable, good faith attempt” of compliance has been made, Opp.

23   at 41-42, this argument ignores the fact that the pressure applied

24   by the State through the AG specifically begins well before the



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 1   issue would reach a court.         Indeed, it is up to AG Bonta whether

 2   to bring “an action pursuant to” AB 587, see § 22678(c), with

 3   respect to which he is free to utilize his broad pre-litigation

 4   powers under Cal. Gov’t Code §§ 11180-81 in a way that will likely

 5   “influence what content [X Corp.] publish[es]” on its platform.

 6   Kurtzberg Aff. Ex. 26 (Eric Goldman, The Constitutionality of

 7   Mandating Editorial Transparency, 73 Hastings L.J. 1203, 1227

 8   (2022)).

 9          That AG Bonta’s November 3 letter does not “state that AB

10   587 would be enforced beyond the scope of its facial disclosure

11   requirements,” Opp. at 35, is also beside the point.               If AB 587

12   “merely” imposes disclosure requirements, as AG Bonta argues, the

13   Court must ask itself why AG Bonta felt it appropriate to include

14   a threat to enforce it in the November 3 letter at all.                The 8-

15   page letter is a direct effort to “urge” social media companies to

16   do more to limit or disfavor constitutionally-protected content

17   that AG Bonta finds objectionable.          Fernandez Aff. ¶ 16.     Why then,

18   did AG Bonta think that a threat to enforce AB 587 was relevant to

19   these efforts?     The answer is obvious.        As Wifredo Fernandez put

20   it, the November 3 letter and its accompanying press release “make

21   clear that the Attorney General intends to use enforcement of AB

22   587 as one of his many tools to ‘urge’ or pressure social media

23   companies to ‘enforce[] their content moderation policies and terms

24   of service’ in order ‘to stop the spread of disinformation and



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 1   misinformation     that   attack     the     integrity    of   our   electoral

 2   processes.’”    Id. ¶ 19.

 3         That, of course, is the problem.              The November 3 letter

 4   specifically states that AG Bonta “will not hesitate to enforce”

 5   AB 587, while at the same “urg[ing]” and “implor[ing]” X Corp. to

 6   “do more” to censor certain disinformation and misinformation.            Id.

 7   ¶¶ 15–16.    It is unclear what such “enforce[ment]” could refer to

 8   other than the prospect of AG Bonta issuing costly document demands

 9   or bringing an enforcement action against X Corp. — both of which

10   he could easily do.       As one leading commentator has noted, these

11   threats of enforcement make compelled “transparency statutes,” like

12   AB 587, more troubling from a First Amendment perspective than they

13   might seem at first blush:

14         These disclosure obligations send the message to
           publishers that regulators will be scrutinizing those
15         disclosures. That message is coupled with an impossible-
           to-ignore threat that regulators will pursue the
           publisher if the disclosures do not satisfy the
16         regulators’ normative objectives[.] . . . Knowing this
           risk, publishers will distort their editorial decisions
17         so their disclosures placate regulators and mitigate the
           risk   of   future    investigations   or    enforcement.
18         Inevitably, compelled editorial transparency changes the
           publisher’s    constitutionally    protected    editorial
19         decision-making and affects constitutionally protected
           speech – exactly like an outright speech restriction
           would.    It does not matter if an investigation or
20         enforcement would be unconstitutional once pursued
           because the speech harms occur well before then.
21

22   Kurtzberg II Aff. Ex. 1 at 88-89.           AG Bonta’s November 3 letter is

23   just one example of this.          As X Corp. knows all too well, there

24   are already other examples in other states.              See, e.g., id. at 82



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 1   n.9 (“Texas Attorney General Ken Paxton used editorial transparency

 2   enforcement to punish Twitter for ‘deplatforming’ then-President

 3   Trump”).

 4         AG Bonta also argues that the pre-litigation powers granted

 5   to him under §§ 11180–81 are of no moment because they are merely

 6   ordinary enforcement tools that apply equally to other California

 7   statutes.    Opp. at 19.     That too misses the point.      It is exactly

 8   because of AG Bonta’s “normal” (id.) practice of using §§ 11180–81

 9   to investigate potential statutory violations that the November 3

10   letter improperly coerces X Corp.          See Opp. at 59-60.        AG Bonta

11   has already stated unequivocally that he “will not hesitate to

12   enforce” AB 587, Fernandez Aff. Ex. 1 at 4, which X Corp. has taken

13   as a “threat from the Attorney General” that it must regulate

14   particular speech, id. ¶ 19.       This is exactly the sort of pressure

15   that results in the State “regulat[ing] constitutionally-protected

16   content in ways that the State wants or insists upon.”           Id. ¶ 20.

17   AG Bonta has “ma[de] clear” that X Corp. will “suffer adverse

18   consequences” if it “fail[s] to comply” with AB 587 as desired by

19   the State, and because of that AB 587 is an impermissible government

20   intrusion on free speech in violation of the First Amendment.             See

21   Missouri v. Biden, 2023 WL 6425697, at *22 (5th Cir. Oct. 3, 2023),

22   cert. granted sub nom., Murthy v. Missouri, 2023 WL 6935337 (U.S.

23   Oct. 20, 2023).

24



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 1                   iv. AB    587    Interferes     With    X    Corp.’s
                         Constitutionally-Protect Editorial Judgments
 2
           X    Corp.’s   editorial     judgments   about   content    moderation
 3
     decisions on its platform are protected by the First Amendment.             To
 4
     quote AG Bonta, “[a]s made clear by case law in this circuit,
 5
     social media companies are private actors with their own First
 6
     Amendment rights[.]”       See Kurtzberg Aff. Ex. 1 at 18–19.              The
 7
     Supreme Court has recognized that these First Amendment protections
 8
     extend to private actors’ exercise of “editorial control over
 9
     speech and speakers on their properties or platforms.”             Manhattan
10
     Cmty. Access Corp. v. Halleck, 139 S. Ct. 1921, 1932 (2019); Miami
11
     Herald, 418 U.S. at 258 (holding that a newspaper’s decision about
12
     what content to publish and its “treatment of public issues and
13
     public officials — whether fair or unfair — constitute the exercise
14
     of editorial control and judgment” are protected by the First
15
     Amendment).2    Further, laws that “subject[] the editorial process
16
     to private or official examination merely to satisfy curiosity or
17
     to serve some general end such as the public interest” do not
18
     “survive    constitutional    scrutiny[,]”     according   to    the   Supreme
19
     Court.    Herbert v. Lando, 441 U.S. 153, 174 (1979).
20
           Defendant’s attempt to liken AB 587 to the laws at issue in
21

22   2
       Defendant incorrectly posits that, because AB 587 concerns social media
     platforms, and not newspapers, the editorial judgment theory does not
23   apply. Opp. at 27 n.10. That is not so. The right to choose whether
     and how to tailor a message is “enjoyed by business corporations generally
24   and by ordinary people engaged in unsophisticated expression as well as
     by professional publishers” and is not “restricted to the press.” Hurley
     v. Irish-Am Gay, Lesbian & Bisexual Grp. Of Boston, 515 U.S. 557, 574

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 1   NetChoice (Fla.) and NetChoice (Tex.) is unpersuasive.                      The laws

 2   at issue in the NetChoice cases were content-neutral laws.                        See

 3   NetChoice    (Fla.),    34   F.4th      at    1227    (“S.B.    7072’s    disclosure

 4   provisions” are “content-neutral regulations”); NetChoice (Tex.),

 5   49 F.4th at 446.       Here, “AB 587 is content based.”                  Opp. at 32;

 6   see also Kurtzberg Aff. Ex. 27 at 11, 37 (stating that AB 587 is

 7   “more clearly content-based, and thus more vulnerable to First

 8   Amendment challenge[,]” whereas the Texas and Florida laws at issue

 9   in the NetChoice cases were “not based on the content of moderated

10   speech”).

11         Defendant’s      attempts      to      distinguish       Miami     Herald   and

12   Washington Post are similarly unpersuasive.                In Miami Herald, the

13   Court held that the law would “fail[] to clear the barriers of the

14   First Amendment because of its intrusion into the function of

15   editors,” even if the newspaper would not “be forced to forgo

16   publication of news or opinion by the inclusion of a reply” or

17   “would face no additional costs to comply.”                      418 U.S. at 258

18   (holding that a newspaper’s decision about what content to publish

19   and its “treatment of public issues and public officials . . .

20   constitute    the   exercise       of     editorial     control    and     judgment”

21   protected by the First Amendment).                Here, AB 587 intrudes upon the

22
     (1995); O’Handley v. Padilla, 579 F. Supp. 3d 1163, 1186–87 (N.D. Cal.
23   2022), aff’d sub nom. on other grounds, O’Handley v. Weber, 62 F.4th 1145
     (9th Cir. 2023) (“Like a newspaper or a news network, [X Corp.] makes
24   decisions about what content to include, exclude, moderate, filter,
     label, restrict, or promote, and those decisions are protected by the
     First Amendment.”).

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 1   function of X Corp. editors/moderators by dictating the method it

 2   moderates content.      In Washington Post v. McManus, 944 F.3d 506

 3   (4th Cir. 2019), the court struck down a law requiring online

 4   platforms to make disclosures and maintain records related to

 5   campaign finance.     AB 587 similarly requires social media platforms

 6   to make disclosures surrounding a variety of content including

 7   “foreign political interference.”3              Washington Post involved a

 8   content-based    law,    like      AB   587,   that   was   “a   compendium   of

 9   traditional First Amendment infirmities.”              944 F.3d at 513, 515

10   (“Indeed, the freedom of speech includes both the right to speak

11   freely and the right to refrain from speaking at all.                It is the

12   presence of compulsion from the state itself that compromises the

13   First Amendment.     The Amendment extends not only to expressions of

14

15
     3
       Defendant contends that the information required to be disclosed under
     AB 587 is “high-level.” Opp. at 28. But that claim is belied by the
     language of AB 587. For the “foreign political interference” category
16   alone, X Corp. must include in a bi-annual detailed report the number of
     posts, comments, messages, profiles of users, and groups of users flagged
17   for “foreign political interference.” X Corp. must also detail the total
     number of actioned content and the number of times those actions were
18   taken by X Corp. against the individual(s) responsible for that content.
     X Corp. must detail the volume of actioned content that was removed,
19   demonetized, or deprioritized. X Corp. must also disclose the number of
     times this content was shared and viewed, including how many times the
20   actioned content was viewed before being actioned. X Corp. must further
     detail whether the flagged or actioned items were texts, images, videos,
     or other forms of content. X Corp. must also explain how the content
21
     was flagged or actioned, including whether it was flagged by employees,
     contractors, artificial intelligence, users, community moderators, civil
22   society partners, or others. X Corp. must provide the number of times
     users appealed these actions and how many of these appeals resulted in
23   reversals.    Again, this information must be specific to “foreign
     political interference” related content. The same detailed disclosures
24   are required for hate speech or racism, extremism or radicalization,
     disinformation or misinformation, and harassment – and must be prepared
     bi-annually, in perpetuity.

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 1   value, opinion, or endorsement, but equally to statements of fact

 2   the    speaker   would   rather    avoid.”)    (quotation     marks    omitted)

 3   (emphasis added).

 4          Thus, X Corp. has First Amendment rights to make editorial

 5   judgments    free    from    government       interference,    and     AB   587

 6   impermissibly interferes with those Constitutional rights.

 7               d. Notwithstanding Which Level Of Scrutiny Applies, AB
                    587 Cannot Stand
 8
            For the reasons outlined above, strict scrutiny applies to AB
 9
     587.    But even if that were not the case, AB 587 fails to pass
10
     constitutional muster under any level of scrutiny.
11
                      i. Zauderer
12
            Even if Zauderer applied (and it most clearly does not), AB
13
     587 would fail that level of scrutiny because its disclosure
14
     requirements are “unduly burdensome” and “unjustified.”               Zauderer,
15
     471 U.S. at 651.
16
            As the Supreme Court recently made clear in NIFLA, even in
17
     cases where Zauderer applies, the Court’s “precedents require
18
     disclosures to remedy a harm that is potentially real not purely
19
     hypothetical” and to extend “no broader than reasonably necessary.”
20
     NIFLA, 138 S. Ct. at 2377 (quotation marks omitted).            AB 587 cannot
21
     satisfy these requirements.
22
            AG Bonta has not demonstrated that AB 587 “remed[ies] a harm”
23
     that is not purely hypothetical. On the one hand, the State asserts
24
     that the interest served by AB 587 is “maintaining an informed,


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 1   enfranchised, and safe populace by providing Californians with

 2   information    necessary     to    navigate    among    the    disinformation,

 3   threats, and hate speech on social media.”             Opp. at 1–2.     But it

 4   is not at all clear how AB 587 will do anything to further those

 5   lofty goals.     For example, as to X Corp., AG Bonta admits that X

 6   Corp. already makes public its rules about content moderation and

 7   uses   categories   that   are     different   than    those   listed   in   the

 8   statute.    As a result, AG Bonta asserts that X Corp. could satisfy

 9   AB 587’s requirements and avoid the significant financial penalties

10   set forth in § 22678 without having to include any numerical data

11   in its Terms of Service Report.              Opp. at 11.       If that is so,

12   however, then it is not clear what, if anything, the statute will

13   accomplish.    It will certainly not “remedy a harm” that is “real”

14   or help “maintain an informed, enfranchised, and safe populace”

15   (Opp. at 1-2) in any way.          It could not be said to be “reasonably

16   related” to that interest.          Zauderer, 471 U.S. at 651; see also

17   id. at 648 (“The State’s arguments amount to little more than

18   unsupported assertions: nowhere does the State cite any evidence

19   or authority of any kind for its contention that the potential

20   abuses associated with the use of illustrations in attorneys’

21   advertising cannot be combated by any means short of a blanket

22   ban.”).

23          If, on the other hand, AB 587 does, in fact, require 161

24   categories of reporting requirements (see PI. Mot. at 67-68), even



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 1   for social media companies that do not use the same categories for

 2   content moderation — e.g., if § 22677(a)(4) requires detailed

 3   disclosures    about    existing   policies    “intended    to   address   the

 4   categories of conduct described [in the statute]” and § 22677(a)(5)

 5   requires disclosures concerning content “flagged by the social

 6   media company as belonging to the categories of conduct described

 7   [in the statute],” even if the categories used by the social media

 8   company for content moderation are not identical to those listed

 9   in the statute — then AB 587 is unduly burdensome.               See also T&S

10   Aff. ¶¶ 11, 18, 20, 22–24.

11         AG Bonta argues that X Corp. has put in no evidence of the

12   burdens imposed by AB 587.         Opp. at 18.    That argument turns the

13   burden of proof under Zauderer on its head.               The “State has the

14   burden of demonstrating that a disclosure requirement is               . . .

15   not unduly burdensome,” Nat’l Ass’n of Wheat Growers, 468 F. Supp.

16   3d at 1258 (citing Zauderer, 471 U.S. at 641), not the other way

17   around.     The argument is also untrue.       As the undisputed evidence

18   in the record makes clear, AB 587’s reporting requirements are

19   unduly burdensome for reasons including, but not limited to, the

20   fact that X Corp. would need to (1) carefully analyze and categorize

21   billions of posts, see T&S Aff. ¶ 20; (2) design, build, and

22   implement    entirely    new   tools   and    workflow,    including   a   new

23   categorization system for moderation actions, in order to comply

24   in good faith with AB 587’s requirements, id.; and (3) spend



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 1   hundreds of thousands or millions of dollars hiring new employees

 2   and/or onboarding contractors in order to allocate resources to

 3   achieve good faith compliance with AB 587, id. ¶ 23.

 4          Moreover,        (4)     the     requirements             set    forth      in

 5   §§ 22677(a)(5)(B)(iv)–(v) (requiring an explanation of “[h]ow the

 6   content” was “flagged or actioned,” “including, but not limited

 7   to,    whether     it    was   “flagged        or    actioned”     by   “artificial

 8   intelligence     software,”      by   “community       moderators,”      by    “civil

 9   society partners,” or by “users”) are nearly identical to certain

10   of    the   disclosure    requirements     at       issue   in    NetChoice    (Fla.)

11   (requiring a “precise and thorough explanation of how the social

12   media platform became aware” of the content that triggered its

13   decision),     that     were   struck   down        under   Zauderer    as    “unduly

14   burdensome.”       34 F.4th at 1207, 1230–31.

15                    ii. Central Hudson

16          Likewise, even if Central Hudson applied (and it does not),

17   AB 587 would not stand.        The Central Hudson test would require that

18   AB 587 “directly and materially advance[] a substantial government

19   interest” and not be “more extensive than is necessary to further

20   that interest.”       Junior Sports Mags. Inc. v. Bonta, 80 F. 4th 1109,

21   1116 (9th Cir. 2023) (quoting Central Hudson, 447 U.S. at 566).

22   Under Central Hudson, the government also “has the burden to

23   ‘demonstrate that the harms it recites are real and that its

24   restriction will in fact alleviate them to a material degree.’”



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 1   Nat’l Ass’n of Wheat Growers, 468 F. Supp. 3d at 1264 (quoting

 2   Ibanez v. Fla. Dept. of Bus. and Prof’l Regul., Bd. of Acct., 512

 3   U.S. 136, 136 (1994)).

 4         AG Bonta has not and cannot meet this “heavy” burden, which

 5   requires an evidentiary showing by the government.          44 Liquormart,

 6   Inc. v. Rhode Island, 517 U.S. 484, 506 (1996) (government did not

 7   meet its burden of establishing that a regulation directly and

 8   materially advanced government interest where it “presented no

 9   evidence to suggest that its speech prohibition will significantly

10   [achieve the public interest asserted]”) (emphasis in original);

11   see Italian Colors Rest. v. Becerra, 878 F.3d 1165, 1177 (9th Cir.

12   2018) (California Attorney General did not meet his burden where

13   he “relie[d] solely on the legislative history of [the law] to

14   argue   that   the   California    Legislature   understood   the     [public

15   interest] to be real and adopted [the law] to eliminate that danger.

16   . . . the Attorney General has pointed to no evidence that [the

17   harm was] in fact real before the enactment of [the law], or that

18   [the law] actually alleviates these harms to a material degree.”)

19   (quotation marks omitted).

20         AG Bonta attempts to meet this burden by pointing only to a

21   single MIT Technology Review opinion piece that is cited for the

22   proposition that “social media has become the terrain for a low-

23   grade war on our cognitive security, with misinformation campaigns

24   and   conspiracy     theories   proliferating”   and   a   quote     from   the



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 1   legislative history saying that social media platforms “rarely

 2   provide detailed insight into their content moderation practices.”

 3   Opp. at 22.    But even if that were true — and there is no evidence

 4   presented that it is — AG Bonta fails to demonstrate how AB 587

 5   would directly and materially advance this goal.             Given that X

 6   Corp. already makes public its content moderation policies and AG

 7   Bonta’s suggestion that X Corp. could apparently satisfy AB 587’s

 8   reporting requirements by submitting “no numerical data,” Opp. at

 9   11, it is not at all clear that AB 587 will accomplish anything at

10   all.    And if that interpretation were correct, then all social

11   media companies could avoid making any numerical disclosures merely

12   by ensuring that their content moderation categories were slightly

13   different than the categories listed in the statute.

14          AG Bonta cannot meet this burden for the additional reason

15   that   consumers   do   not   lack   information   about   how   content   is

16   regulated on X.     AB 587’s unduly burdensome reporting requirements

17   are therefore more extensive than necessary to further its interest

18   in content-moderation transparency because (1) X Corp.’s content-

19   moderation policies are already entirely transparent, see T&S Aff.

20   ¶¶ 30–32, 34, and (2) AB 587’s reporting requirements interfere

21   with X Corp.’s constitutionally-protected speech.          Any increase in

22   transparency that would be caused by the statute is juice that is

23   not worth the squeeze.

24



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 1                  iii. Strict Scrutiny

 2         AB 587 cannot withstand strict scrutiny, which requires that

 3   a law be “narrowly tailored to serve compelling state interests,”

 4   Reed, 576 U.S. at 171, and that there be no “less restrictive

 5   alternative[s]      [that]     would       serve   the    Government’s    purpose,”

 6   IMDb.com Inc., 962 F.3d at 1125 (quoting United States v. Playboy

 7   Entm’t Grp., Inc., 529 U.S. 803, 813 (2000)); see also id. (citing

 8   Animal Legal Def. Fund v. Wasden, 878 F.3d 1184, 1204 (9th Cir.

 9   2018)   (“a   statute    is    not    narrowly     tailored     if   it   is   either

10   underinclusive or overinclusive in scope”)).

11         Again, the State has drawn a double-edged sword, which, one

12   way or the other, is fatal to its defense of AB 587.                      The State

13   propounds     the   lofty     goal    of    keeping      Californians     “informed,

14   enfranchised, and safe,” and AB 587 apparently accomplishes this

15   by providing them “with information necessary to navigate among

16   the disinformation, threats, and hate speech on social media.”

17   Opp. at 1–2.        Even if “increasing transparency” in this context

18   were a compelling state interest — which, as to X Corp., whose

19   content-moderation policies are already entirely transparent, it

20   is not — AB 587’s means are not narrowly tailored to serve this

21   interest.     AG Bonta has not carried his burden of demonstrating

22   how AB 587’s reporting requirements will serve this interest,

23   particularly if it is true that companies can satisfy AB 587’s

24   reporting     requirements       by        submitting     “no   numerical      data”



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 1   whatsoever.       Opp. at 11.     How will AB 587’s reporting requirements

 2   keep Californians safe?           How will it keep them enfranchised?           The

 3   absence of any evidence demonstrating that AB 587 will not only

 4   advance these goals, but that it will do so in a “direct and

 5   material way” is fatal, and the result is that AB 587 utterly fails

 6   constitutional muster.

 7         The law is also not narrowly tailored because it is both

 8   underinclusive and overinclusive in scope.                 See Wasden, 878 F.3d

 9   at 1204.        AB 587 is underinclusive because, despite its goal to

10   keep Californians informed, safe, and enfranchised, it applies only

11   to the categories of content set forth in § 22677(a)(3) and applies

12   only to a handful of social media companies, see § 22680.                     It is

13   also overinclusive because it applies to X Corp. and any other

14   social media company whose content-moderation policies are already

15   entirely transparent.

16         Finally, AG Bonta’s responses to X Corp.’s three proposed

17   “less restrictive alternatives” to AB 587 are unpersuasive.                     See

18   Opp. at 38.        First, X Corp. proposed a version of AB 587 that

19   applies only to social media companies that do not disclose how

20   content    is    moderated   at    all,   PI   Mot.   at   63,   which   AG   Bonta

21   disregarded because it would apparently “set no minimum bar for

22   the information that is disclosed to the public,” Opp. at 38.                   But

23   this alternative would require the same level of information as

24   does the current version of AB 587.             The only difference would be



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 1   to whom the law applies.      Second, X Corp. proposed a version of AB

 2   587 that does not target specific categories of content, PI Mot.

 3   at 63, to which AG Bonta has responded by stating that such a “law

 4   would not sufficiently serve its compelling purpose without its

 5   use of specific categories of [content],” Opp. at 38. It is unclear

 6   how that would be the case, particularly considering that, as AG

 7   Bonta himself points out, the majority of the content-neutral

 8   disclosure provisions at issue in NetChoice (Fla.) and NetChoice

 9   (Tex.) were upheld by those courts.         Finally, X Corp. proposed a

10   version of AB 587 that, while requiring covered companies to

11   disclose their content-moderation policies, would not require them

12   to take positions on specific categories of controversial speech,

13   PI Mot. at 63, to which AG Bonta replies that AB 587 does not so

14   require, Opp. at 38.         But, for the various reasons set forth

15   throughout this brief, AB 587 is a concerted effort to apply

16   pressure — both from the government and the public — to do just

17   that.4

18
     4
       Defendant argues that, even if the Court preliminarily enjoins the
19   “disclosure requirements of AB 587” (the Terms of Service Report), it
     should “sever[]” the remaining provisions.     See Opp. at 24 n.9.    As
20   Plaintiff has argued, the entirety of AB 587, including its Terms of
     Service Requirement, see, e.g., PI Mot. at 53 n.10, is unconstitutional
     and should be enjoined. But even if the Court determines that only AB
21
     587’s Terms of Service Report is likely unconstitutional, contrary to
     Defendant’s contention, those provisions cannot be severed from the
22   remainder of AB 587 because they are not “volitionally separable.” Cal.
     Redevelopment Ass’n. v. Matosantos, 53 Cal. 4th 231, 271 (2011)
23   (“Volitional separability depends on whether the remainder would have
     been adopted by the legislative body had the latter foreseen the partial
24   invalidation of the statute”) (quotation marks omitted).         As the
     legislative history makes clear, the primary focus of the California
     legislature in enacting AB 587 was on the Terms of Service Report, not

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 1       I.   Section 230 Of The Communications Decency Act Preempts AB
              587
 2
           AB 587 is preempted by Section 230 of the Communications
 3
     Decency Act of 1996 because (1) it imposes civil liability on
 4
     social media companies if they take actions in good faith to
 5
     restrict access to content as described in § 230(c)(2) without
 6
     making   AB   587’s    required    disclosures    and   (2)   it   permits   the
 7
     Attorney General to issue civil discovery demands and initiate
 8
     civil actions against social media companies, despite Section 230’s
 9
     express preemption against doing so.
10
           AG Bonta asserts that these arguments rest on faulty premises,
11
     but it is AG Bonta’s response that misses the mark.                  First, AG
12
     Bonta argues that “AB 587 does not require social media platforms
13
     to restrict access to content or take other actions to moderate
14
     content.”     Opp. at 40.     That, however, is not the standard for
15
     Section 230 preemption, which prohibits liability for “any action
16
     voluntarily    taken    in   good    faith   to   restrict     access   to   or
17
     availability of material that the provider or user considers to be
18

19   the Terms of Service Requirement. See generally Kurtzberg Aff. Exs. 5–
     6, 9–10, 20–21, 25. Indeed, nothing in the legislative record suggests
20   that the legislature thought the companies covered by AB 587 (those
     generating $100 million annually in revenue) do not already publicly post
     their terms of service. Id. As the record in this matter makes clear,
21
     that is not an issue as to X Corp., which already makes public its terms
     of service covering content moderation.         See PI Mot. at 29–35.
22   Accordingly, the Terms of Service Requirement “would [not] have been
     adopted” (id.) by the legislature separate from the Terms of Service
23   Report, particularly when considering the legislature’s stated goal of
     using the law to “maintain[] an informed, enfranchised, and safe
24   populace.”   Opp. at 1-2.    The Terms of Service Requirement would do
     little to nothing to accomplish that goal.


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 1   obscene, lewd, lascivious, filthy, excessively violent, harassing,

 2   or   otherwise   objectionable,      whether      or   not   such    material    is

 3   constitutionally protected.”         47 U.S.C. § 230(c)(2).          AB 587 does

 4   just that.    It imposes liability on social media companies, like X

 5   Corp., for content moderation if it is not done in the precise

 6   manner dictated by the State — i.e., with Terms of Service covering

 7   certain topics and with required disclosures mandated by the State

 8   about content moderation policies and practices.

 9         Such   liability   falls     within   the    broad     scope   of   immunity

10   intended by Congress, as evidenced by the use of the term “any

11   action.”     See PC Drivers Headquarters, LP v. Malwarebytes Inc.,

12   371 F. Supp. 3d 652, 660 (N.D. Cal. 2019) (the “any action” language

13   in Section 230 evidences Congressional intent to apply “broad”

14   immunity).    In fact, this is the very type of regulation Section

15   230 was intended to prevent.        If social media companies take action

16   in good faith to moderate such content — but do not conform their

17   actions to the content moderation disclosures or other requirements

18   set forth in AB 587 — they will be subject to liability, despite

19   Section 230(c)(2)’s immunity.

20         Section 230 prohibits liability for dictating not only the

21   results of content moderation decisions, but also the manner in

22   which they are made.      An analogy illustrates the point.               Imagine a

23   state law that imposed liability on content-moderation decisions

24   on social media sites unless they were made by a board consisting



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 1   of an equal number of Democrats and Republicans.            Such a law would

 2   also “not require social media platforms to restrict access to

 3   content or take other actions to moderate content.”                 Opp. at 40.

 4   Nor would it dictate what the outcome of any content moderation

 5   decisions should be. Such a law would, however, still be preempted,

 6   because it would impose liability for good faith decisions made

 7   about content moderation; Section 230 was intended to protect self-

 8   regulation of content moderation by social media companies, free

 9   of government interference as to both the results and the manner

10   of deciding.    See Doe v. Internet Brands, Inc., 824 F.3d 846, 851–

11   52 (9th Cir. 2016) (“[A] website should be able to act as a ‘Good

12   Samaritan’ to self-regulate offensive third party content without

13   fear of liability.”) (emphasis added); In re Apple Inc. App Store

14   Simulated Casino-Style Games Litig., 625 F. Supp. 3d 971, 979 (N.D.

15   Cal. 2022) (“The legislative history . . . makes clear that Congress

16   enacted    Section    230   to     remove     the   disincentives     to   self-

17   regulation[.]”) (emphasis added).

18         Defendant’s response also rests on the incorrect statement

19   that “[n]othing in AB 587 gives the Attorney General authority to

20   penalize social media platforms based on the provisions of their

21   terms of service or how platforms choose to enforce (or not enforce)

22   those terms.”    Opp. at 41.       That is exactly what AB 587 does.       Armed

23   with broad pre-litigation enforcement powers under Cal. Gov’t Code

24   §§ 11180-81, AG Bonta can investigate (through costly discovery



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 1   demands), and ultimately pursue and fine, companies such as X Corp.

 2   for moderating certain objectionable content, which is exactly what

 3   Section 230 bars.       Given (1) AB 587’s vague structure, (2) its

 4   hefty penalty provisions, and (3) the fact that AG Bonta has already

 5   used threats of enforcement of AB 587 to pressure social media

 6   companies, such as X Corp., to limit or disfavor content covered

 7   by AB 587, see Fernandez Aff. ¶ 16, it is clear that the statute

 8   facilitates governmental pressure to conform content moderation

 9   decisions to the State’s liking, subject to threats of enforcement.

10         Defendant’s reliance on HomeAway.com v. City of Santa Monica,

11   918 F.3d 676 (9th Cir. 2019) is unavailing.             The regulation in

12   HomeAway.com     prohibited    short-term    vacation    rentals     for   30

13   consecutive days or less and prohibited platforms from processing

14   transactions for unregistered rental properties.              Id. at 683.

15   Accordingly, it “[did] not require the Platforms to monitor third-

16   party content and thus [fell] outside of [Section 230’s] immunity.”

17   Id.    AB 587 is plainly different.         It does impose liability on

18   social media companies if they make content moderation decisions

19   without making the requisite disclosures.

20         AG Bonta also argues that Plaintiff’s logic leads to absurd

21   results because it would allow for an argument that Section 230

22   preempts a law penalizing social media companies for failing to

23   pay income taxes because, such a law that “creates a civil penalty

24   for social media platforms that take actions in good faith to



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 1   restrict access to content as described in 230(c)(2), [] without

 2   paying state income tax.”                     Opp. at 41 n.11 (quotation marks

 3   omitted).      That argument is without merit.                       Unlike the penalties

 4   imposed by AB 587, the liabilities imposed by state laws penalizing

 5   the failure to pay income tax have nothing to do with content

 6   moderation.         In contrast, AB 587 directly ties its penalties to

 7   actions      taken       or    not    taken    in      moderating      content.          AB   587

 8   essentially requires that, if social media companies regulate

 9   content on their platforms, they must do so in the manner dictated

10   by the State of California or be subject to “meaningful remedies.”

11   See   AB   587     Bill       Text,    Section      1    (“It   is     the   intent      of   the

12   Legislature that a social media company that violates this act

13   shall   be    subject         to     meaningful     remedies     sufficient         to   induce

14   compliance with this act.”).                   Unlike the vacation rental law in

15   HomeAway.com or the tax law example posed by AG Bonta — both of

16   which impose no liability relating to content-moderation decisions

17   — AB 587 imposes liability for content-moderation decisions that

18   are not made in a particular way.                        That “pose[s] an obstacle to

19   Congress’s         aim    to       encourage      self-monitoring            of    third-party

20   content,” HomeAway.com, 918 F.3d at 683–84, and it means that AB

21   587 is preempted by Section 230.

22         AB     587     is       also    preempted         by   Section     230      because     its

23   enforcement provisions allow AG Bonta to bring a civil action

24   (potentially already after issuing costly and invasive document



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 1   demands and other requests) against a social media company if he

 2   believes    it   has   “omit[ted]   or        misrepresent[ed]”    any   of    the

 3   information it reported.       See 47 U.S.C. § 230(e)(3) (“No cause of

 4   action may be brought and no liability may be imposed under any

 5   State or local law that is inconsistent with this section.”)

 6   (emphasis added).       Defendant’s focus on whether discretion to

 7   determine the amount of the civil penalty lies with the Attorney

 8   General or the court is misplaced.             That the Attorney General can

 9   bring an action and subject a social media company to burdensome

10   discovery requests, regardless of whether any civil penalty is

11   assessed,    contravenes    the    immunity      afforded   by    Section     230.

12   “Section 230 must be construed to protect defendants ‘not merely

13   from ultimate liability, but from having to fight costly and

14   protracted legal battles.’”         Republican Nat'l Comm. v. Google,

15   Inc., 2023 WL 5487311, at *3 (E.D. Cal. Aug. 24, 2023) (quoting Fair

16   Hous. Council of San Fernando Valley v. Roommates.com, LLC, 521

17   F.3d 1157, 1175 (9th Cir. 2008) (en banc)); see also id. (“In

18   ‘close cases’ section 230 claims ‘must be resolved in favor of

19   immunity.’”) (quoting Roommates.com, 521 F.3d at 1174).

20         AB 587 “stands as an obstacle to the accomplishment and

21   execution of the full purposes and objectives of Congress,” Jones

22   v. Google LLC, 73 F.4th 636, 644 (9th Cir. 2023) (quotation marks

23   omitted), and is therefore preempted by Section 230.

24



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 1      II.    X Corp. Has Established The Existence Of The Remaining
               Winter Factors
 2
            Defendant concedes that “the loss of First Amendment freedoms
 3
     does     constitute   ‘irreparable       harm’    for     purposes   of   seeking
 4
     injunctive relief.”     Opp. at 44.       And here, because “the government
 5
     is a party, the last two factors merge.”                Junior Sports Mags., 80
 6
     F.4th at 1120; Nat'l Ass’n of Wheat Growers, 468 F. Supp. 3d at
 7
     1265.     Moreover, in a First Amendment case, Plaintiff “need only
 8
     demonstrate the existence of a colorable First Amendment claim” in
 9
     order to establish irreparable harm.                   Cal. Chamber of Com. v.
10
     Council for Educ. & Rsch. on Toxics, 29 F.4th 468, 482 (9th Cir.
11
     2022)    (emphasis    added);      see   also    id.    (“Irreparable     harm   is
12
     relatively easy to establish in a First Amendment case.”).                 X Corp.
13
     has not only met this lesser burden of demonstrating a “colorable”
14
     First Amendment claim, it has put forth one that is likely to
15
     succeed on the merits.       Accordingly, X Corp. has established the
16
     existence of the remaining Winter factors.
17

18                                      CONCLUSION

19
            The Court should grant Plaintiff’s request for preliminary
20   injunctive relief as to AB 587.

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 1   DATED: November 3, 2023       /s/ Joel Kurtzberg

 2                                 CAHILL GORDON & REINDEL LLP
                                   Joel Kurtzberg (admitted pro hac vice)
 3                                 Floyd Abrams (admitted pro hac vice)
                                   Jason Rozbruch (admitted pro hac vice)
 4                                 Lisa J. Cole (admitted pro hac vice)
                                   32 Old Slip
 5                                 New York, NY 10005
                                   Telephone: 212-701-3120
 6                                 Facsimile: 212-269-5420

 7                                 DOWNEY BRAND LLP
                                   William R. Warne (Bar No. 141280)
 8                                 Meghan M. Baker (Bar No. 243765)
                                   621 Capitol Mall, 18th Floor
 9                                 Sacramento, CA 95814
                                   Telephone: 916-444-1000
10                                 Facsimile: 916-444-2100

11
                                   Attorneys for Plaintiff X Corp.
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